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                ORAL ARGUMENT NOT YET SCHEDULED
                        Nos. 22-5036 & 22-5037

                                      IN THE

             United States Court of Appeals
           for the District of Columbia Circuit
                         FRIENDS OF THE EARTH, et al.,
                                                         Plaintiffs-Appellees,
                                        v.

DEBRA A. HAALAND, in her official capacity as Secretary of the Interior, et al.,
                                                         Defendants-Appellees,
     AMERICAN PETROLEUM INSTITUTE and STATE OF LOUISIANA,
                                                         Intervenors-Appellants.

   On Appeal from the United States District Court for the District of Columbia
          No. 1:21-cv-02317-RC, District Judge Rudolph Contreras


 FINAL REPLY BRIEF FOR APPELLANTS AMERICAN PETROLEUM
            INSTITUTE AND STATE OF LOUISIANA

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                                GLOSSARY

     APA:        Administrative Procedure Act

     API:        American Petroleum Institute

     Interior:   U.S. Department of the Interior

     NEPA:       National Environmental Policy Act

     OCS:        Outer Continental Shelf

     OCSLA:      Outer Continental Shelf Lands Act




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                                      IN THE
             United States Court of Appeals
           for the District of Columbia Circuit
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                        FRIENDS OF THE EARTH, et al.,
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                                        v.

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                 On Appeal from the United States District Court
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                            No. 1:21-cv-02317-RC
                       District Judge Rudolph Contreras


  FINAL REPLY BRIEF FOR APPELLANTS AMERICAN PETROLEUM
             INSTITUTE AND STATE OF LOUISIANA


           INTRODUCTION AND SUMMARY OF ARGUMENT

      For the reasons explained in API and Louisiana’s motion to dismiss and

vacate, the Inflation Reduction Act has rendered Plaintiffs’ case—and this

appeal—moot by directing that the Lease Sale 257 acreage be leased to the Lease

Sale 257 high bidders, making the legality of the Record of Decision challenged by


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Plaintiffs’ suit irrelevant. The Court should therefore dismiss the appeals as moot,

vacate the District Court’s judgment and opinion, and remand with instructions to

dismiss the case.

      If the Court denies the motion to dismiss and vacate, the Court should

reverse the District Court’s judgment.1 Plaintiffs’ challenge to the Court’s

jurisdiction under the administrative-remand rule is meritless. Plaintiffs posit a

world where any district court order with the word “remand” is presumptively

unappealable by a private party. But the administrative-remand rule has never

been that broad; it applies only when the core dispute between the parties remains

unresolved, such as when a district court remands without vacatur and requires

proceedings on remand that can return for future judicial review. That is quite

different from this case—and most all vacatur cases—where the district court

nullifies the agency action, remands, and leaves the agency to take further action,

or not, as it wishes. Plaintiffs’ capacious vision of the administrative-remand rule

has no grounding in either 28 U.S.C. § 1291 or the case law.




1
  Because this brief assumes that the Court has held that the Inflation Reduction
Act does not modify Interior’s NEPA or other obligations with respect to Lease
Sale 257 or the acreage auctioned in Lease Sale 257, we do not repeatedly caveat
that the Inflation Reduction Act has changed or made irrelevant the issues
discussed.


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      Even if the District Court’s remand order were non-final, this is a case where

a private-party intervenor can appeal a remand order to which the administrative-

remand rule applies. Interior can never hold another Lease Sale 257 because the

2017-2022 Five Year Plan has expired, and it is speculative at best that Interior

will ever decide to include—or not include—the Lease Sale 257 acreage at issue in

a future sale under a different five-year plan. The administrative-remand rule is

premised on the notion that an appeal is not denied, only delayed. But if API and

Louisiana cannot appeal now, they never can. They can therefore bring their

appeal now.

      On the merits, Interior appropriately did not quantify the global greenhouse-

gas emissions that would result if Lease Sale 257 were not held. NEPA does not

require Interior to measure environmental effects that are not a direct cause of the

lease-sale phase that Interior is undertaking. Greenhouse gases are not caused by

leasing; they are caused by the combustion of oil after exploration and production.

At the leasing phase, whether oil will be found and in what quantities is

speculative; NEPA therefore does not require Interior to measure impacts from

drilling and combustion at the lease-sale phase. Plaintiffs’ attempt to limit this

Court’s case so holding, North Slope Borough v. Andrus, 642 F.2d 589, 606 (D.C.

Cir. 1980), to its facts is unpersuasive; courts here and elsewhere apply Andrus’s

principles beyond its particular facts.



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      NEPA also did not require Interior to measure global greenhouse-gas

impacts from Lease Sale 257 because this Court held in Center for Biological

Diversity v. U.S. Department of Interior, 563 F.3d 466 (D.C. Cir. 2009) (CBD) that

the Outer Continental Shelf Lands Act of 1953 (OCSLA) is focused exclusively on

the local environmental risks of OCS oil-and-gas development and forbids

consideration of global climate impacts. Plaintiffs try to dismiss CBD’s holding

about global climate impacts as dicta, but its statement that OCSLA forbids

consideration of global climate impacts was prior and necessary to its ultimate

holding that OCSLA does not require consideration of global climate impacts.

That makes it binding. Plaintiffs are also wrong that NEPA requires Interior to

consider impacts OCSLA forbids; agencies need not include in their NEPA

analysis considerations that they are not allowed to act on. Interior cannot decline

to hold a lease sale because of global climate impacts, so it need not include global

climate impacts as part of its no-action alternative.

      Even if NEPA did require Interior to consider global greenhouse-gas

impacts, Interior did all the statute demands. It qualitatively explained that not

holding Lease Sale 257 would likely reduce foreign oil usage somewhat, but that it

did not have reliable information as to how foreign nations would substitute other,

potentially dirtier, energy sources in its place and so could not quantify the

decrease. Plaintiffs argue that Interior’s resulting analysis misled the public and



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decisionmakers by suggesting that Lease Sale 257 would reduce global emissions,

but Interior never made that claim. Moreover, NEPA does not require agencies to

quantify impacts if it cannot be done reliably. Plaintiffs point to a working paper

that they contend would have solved all of Interior’s difficulties, but the paper is

shot through with questionable assumptions that make it unreliable for Interior’s

purposes—criticisms that Plaintiffs never address. Plaintiffs instead contend that

Interior did not adequately explain its decision to reject the working paper, but

Interior properly recognized and stated that none of the literature included reliable

global data, a criticism that applies to Plaintiffs’ favorite working paper. Plaintiffs

might prefer a more-verbose explanation, but NEPA does not require it.

      At the very least, the Court should direct that the District Court’s remand be

without vacatur. The District Court misconstrued Allied-Signal, Inc. v. U.S.

Nuclear Regulatory Commission, 988 F.2d 146 (D.C. Cir. 1993) by demanding

that it be more than “conceivable” that Interior can fix its supposed NEPA

mistakes and again decide to conduct Lease Sale 257. And the District Court

created a heretofore unknown “buyer beware” test to the disruptive-consequences

prong of the Allied-Signal analysis found nowhere in this Court’s case law,

forbidding remand without vacatur where regulated parties participate in an agency

action while knowing it is the subject of litigation. Lease Sale 257 bidders

reasonably relied on the presumption of regularity that attached to the Record of



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Decision, and the District Court’s vacatur order unjustifiably upset those interests,

costing the bidders significant effort and money. Moreover, the District Court’s

vacatur order runs roughshod over OCSLA’s requirement that auctions be by

“sealed bid” where bidders do not know their competitors’ valuations for the

auctioned acreage ahead of time. Now that bidders’ Lease Sale 257 valuations

have been revealed, any future sale of the Lease Sale 257 acreage will be corrupted

by competitiors’ knowledge of each other’s valuations.

      If the Court does not dismiss Plaintiffs’ case as moot, it should reverse.

                                    ARGUMENT

I.    PLAINTIFFS EXPAND THE ADMINISTRATIVE-REMAND RULE
      PAST ALL KNOWN LIMITS, AND API AND LOUISIANA’S
      APPEALS ARE NOW OR NEVER.

      Plaintiffs do not deny that the District Court’s order in this case is final

under all of the usual measures. It resolves all claims as to all parties. It was

intended to be the District Court’s final decision in the case. And it marks the

District Court disassociating itself from the case by vacating the Record of

Decision supporting Lease Sale 257 and all of Interior’s related actions, restoring

the pre-Record of Decision status quo. See API Br. 15-16. Plaintiffs also do not

deny that if API and Louisiana cannot appeal now, Interior will never be able to

hold a new Lease Sale 257. Cf. Plaintiffs Br. 19. Now that the 2017-2022 Five

Year Plan has expired, there can be no new Lease Sale 257. Any new sale of the



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Lease Sale 257 acreage would be a completely new lease sale under a new Five

Year Plan, and it is speculative whether the Lease Sale 257 acreage would be

included in any future Five Year Plan or future lease sale. See API Br. 19.

      Plaintiffs nonetheless insist that this Court lacks jurisdiction over API and

Louisiana’s appeals under the “administrative-remand rule.” Plaintiffs Br. 17-23.

But Plaintiffs stretch the administrative-remand rule farther than this Court ever

has, taking it from cases where the district court remanded to the agency for

further, mandatory action and applying it to essentially every administrative-

procedure case. And Plaintiffs misconstrue this Court’s exception to the

administrative-remand rule for district court decisions that cannot be effectively

reviewed following remand, which even Interior agrees applies here. For either

reason, the District Court’s vacate-and-remand order is final.

      A.     The administrative-remand rule does not apply to vacate-and-
             remand orders like the District Court’s here.

      Under this Circuit’s administrative-remand rule, “a district court’s remand

order is not normally ‘final’ for purposes of appeal under 28 U.S.C. § 1291.”

Sierra Club v. U.S. Dep’t of Agric., 716 F.3d 653, 656 (D.C. Cir. 2013) (quoting

North Carolina Fisheries Ass’n v. Gutierrez, 550 F.3d 16, 19 (D.C. Cir. 2008)).

Plaintiffs cite this Court’s statement of that rule. Plaintiffs Br. 17. But they lose

sight of the doctrine underlying the rule. The typical remand order does “not

resolve the controversy”; an “order remanding [a] matter with instructions to the

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[agency] to engage in reasoned decisionmaking surely d[oes] not end the litigation

on the merits.” American Hawaii Cruises v. Skinner, 893 F.2d 1400, 1402 (D.C.

Cir. 1990) (per curiam). Regardless of “whether the district court ‘remanded but

retained jurisdiction’ pending further agency consideration, or remanded and

simultaneously dismissed the civil action,” the key question is whether “the district

court’s order leaves the core dispute unresolved, and simply turns it back for

further proceedings by the agency.” Id. at 1403 (quoting Mall Props., Inc. v.

Marsh, 841 F.2d 440, 441 & n.2 (1st Cir. 1988)).

      A remand that leaves the core dispute unresolved but remands for further

agency proceedings is typical of remand without vacatur. See API Br. 16-17.

When a court’s remand is with vacatur, the court has decided the dispute between

the parties; it has granted the plaintiffs the relief they requested, “annul[ling]” the

agency action under review, Action on Smoking & Health v. Civil Aeronautics Bd.,

713 F.2d 795, 797 (D.C. Cir. 1983) (per curiam); and it has returned the parties to

the state of affairs before the agency acted. When a court remands without vacatur,

by contrast, the agency is directed to re-do its homework and judicial decision on

the principal relief the plaintiffs requested—setting the agency action aside—is

pretermitted until the remand is complete. The first kind of remand order is final;

the second is not. API Br. 16-17.




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      Plaintiffs’ only response is to argue that Pueblo of Sandia v. Babbitt, 231

F.3d 878, 879-881 (D.C. Cir. 2000), where this Court applied the administrative-

remand rule in the face of a district court order that vacated the agency action

under review, is “directly on point.” Plaintiffs Br. 22; see also API Br. 18

(discussing Pueblo of Sandia). But Plaintiffs admit that “the finality argument

based on vacatur was never made in that case.” Plaintiffs Br. 22. They instead

argue that if vacatur was the key issue, the appellants in Pueblo of Sandia surely

would have spotted it. Id. But the Supreme Court has warned against reading into

silence as Plaintiffs do; “when questions of jurisdiction have been passed on in

prior decisions sub silentio, this Court has never considered itself bound when a

subsequent case finally brings the jurisdictional issue before” it. Hagans v. Lavine,

415 U.S. 528, 533 n.5 (1974). Moreover, “a party . . . can forfeit a claim that [this

Court] possess[es] jurisdiction,” Scenic Am., Inc. v. U.S. Dep’t of Transp., 836

F.3d 42, 53 n.4 (D.C. Cir. 2016), so the appellant’s failure in Pueblo of Sandia to

make a vacatur-based finality argument forfeited a vacatur-based theory of

appellate jurisdiction without any need for this Court to raise it sua sponte.

      The same is true of Plaintiffs’ other cited cases. Amarin Pharmaceuticals

Ireland Ltd. v. FDA, No. 15-5214, 2015 WL 9997417 (D.C. Cir. Dec. 9, 2015) (per

curiam), an unpublished motion order, does not grapple with any of API’s

arguments, stating that the district court’s order was not appealable because “it



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anticipates further agency action not limited to merely ‘ministerial’ proceedings.”

The parties in Cook Inlet Tribal Council v. Mandregan, No. 14-cv-1835 (EGS),

2019 WL 3816573, at *5 (D.D.C. Aug. 14, 2019), “agree[d]” that the order “was

not a final judgment.” And neither of the two Ninth Circuit cases that Plaintiffs

cite—Pit River Tribe v. U.S. Forest Service, 615 F.3d 1069 (9th Cir. 2010), or

Alsea Valley Alliance v. Department of Commerce, 358 F.3d 1181, 1185-86 (9th

Cir. 2004)—addressed the key differences between remand with and without

vacatur and how only remand without vacatur leaves the core dispute between the

parties unresolved, warranting designation as nonfinal.2

      To be clear, the distinction is not necessarily that all remands without

vacatur are nonfinal and that all remands with vacatur are; instead, the question is

always whether the district court’s order “leaves the core dispute unresolved” by

requiring the agency to take further action and contemplating further judicial

review afterwards. American Hawaii Cruises, 893 F.2d at 1403. Pueblo of Sandia

is therefore consistent with API’s argument because the Court believed that, even

with vacatur, the agency would be compelled to act on remand by approving or

denying the appellant’s corrected-survey request. 231 F.3d at 879. But that is far


2
  Alsea Valley Alliance mentioned vacatur, but in service of rejecting the
appellant’s argument that the district court’s vacatur order was appealable separate
from its order declaring the agency action unlawful. Alsea Valley, 358 F.3d at
1185. It did not touch on the argument that API makes here.


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from this case where the District Court stated that its order “allow[s] the agency an

opportunity to remedy its NEPA error as it so chooses in the first instance,”

without “specify[ing] how [Interior] must do so, on what timeline, or what ultimate

conclusion it must reach.” JA347 [Op. 67]; see American Great Lakes Ports Ass’n

v. Schultz, 962 F.3d 510, 515 (D.C. Cir. 2020) (remand order was final where it

“d[id] not instruct the Coast Guard to reopen the [agency action] and conduct

further proceedings”). Plaintiffs try to preempt this problem, contending that the

District Court’s “extensive discussion of remedy demonstrates that the court

expected Interior to act on remand in some way.” Plaintiffs Br. 23 (citing JA336-

343 [Op. 56-63]). Their inability to pin cite any page or quote any language

supporting their view of the order demonstrates its falsity.

      Plaintiffs’ radical view of the administrative-remand rule also wreaks havoc

on agency litigation. For one, Plaintiffs’ approach guts intervenors’ rights. If it

were accepted, only an agency could appeal a district court order that mentions a

“remand” to the agency. But essentially every order does; this Court has said that

any time an agency has “made an error of law, . . . the case must be remanded to

the agency for further action consistent with the corrected legal standards.”

Nebraska Dep’t of Health & Human Servs. v. Department of Health & Human

Servs., 435 F.3d 326, 331 (D.C. Cir. 2006) (citation omitted). So that makes

almost every order adverse to an agency appealable only at the agency’s option.



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Yet intervenors join cases precisely so that they can raise arguments and pursue

appeals when the government does not; the government does not represent the

“more narrow and ‘parochial’ financial interest[s]” of private intervenors. Fund

for Animals, Inc. v. Norton, 322 F.3d 728, 737 (D.C. Cir. 2003) (citation omitted).

Plaintiffs try to take through finality the appellate rights that parties obtain by

intervening. See API Br. 18-19.

      Moreover, Plaintiffs’ theory makes appealability turn on magic words.

Imagine the District Court had said it was just “vacating” the Record of Decision

for Lease Sale 257, contrary to this Court’s direction about remands. That would

be appealable under Plaintiffs’ theory. But that hypothetical order would be

functionally identical to the vacate-and-remand order the District Court issued

here. Under the hypothetical vacate-only order, Interior would have the same

ability to determine whether to hold a sale for the acreage included in Lease Sale

257 as it does under the vacate-and-remand order. “[F]inality ‘is to be given a

practical rather than a technical construction,’ ” Limnia, Inc v. U.S. Dep’t of

Energy, 857 F.3d 379, 385 (D.C. Cir. 2017) (Kavanaugh, J.) (citation omitted), but

Plaintiffs’ approach rests on on technicalities.

      In the end, the administrative-remand rule cannot trump the statutory

principle that a “remand order ‘that terminate[s] an action fall[s] within the core of

Section 1291’s requirement of finality.’ ” American Great Lakes, 962 F.3d at 515



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(D.C. Cir. 2020) (citation omitted and brackets in American Great Lakes). The

District Court’s order here terminated Plaintiffs’ action and it is final for appellate

purposes.

      B.     Plaintiffs take an unduly narrow view of this Court’s now-or-
             never exception to the administrative-remand rule.

      Even if the District Court’s remand-and-vacatur order were subject to the

administrative-remand rule, API and Louisiana may still appeal because if they

cannot appeal now, they never can. See API Br. 19; Interior Br. 11-17. As Interior

has explained, it could not complete a new NEPA analysis addressing the issues

identified in the District Court’s opinion by the end of the 2017-2022 Five Year

Plan. Interior Br. 12-14. And because Interior could not complete the actions

contemplated by the District Court’s order as part of the 2017-2022 Five Year Plan

and re-run Lease Sale 257, API and Louisiana would have no later opportunity to

appeal the District Court’s rulings. See id. at 16-17. 3


3
  The Inflation Reduction Act directs that Interior conduct three lease sales—Lease
Sales 258, 259, and 261—“[n]otwithstanding the expiration of the 2017-2022
leasing program.” Pub. L. No. 117-169, § 50264(c)-(e), 136 Stat. 1818, 2060
(2022). Based on the Act’s mandate that Interior issue leases to the high bidders in
Lease Sale 257, none of those three planned lease sales will include the acreage
from Lease Sale 257 that is at issue in this appeal. Moreover, Lease Sale 258 was
conducted on December 30, 2022, Lease Sale 258, BOEM,
https://www.boem.gov/oil-gas-energy/leasing/lease-sale-258 (last visited Jan. 11,
2023), and Lease Sale 259 will be conducted in March 2023, Lease Sale 259,
BOEM, https://www.boem.gov/oil-gas-energy/leasing/lease-sale-259 (last visited
Jan. 11, 2023), before this Court will decide this appeal, making it impossible-to-


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      Plaintiffs argue that an immediate appeal would be wasteful because Interior

could, potentially, possibly, at some point include the Lease Sale 257 acreage at

issue here in a different Five Year Plan and a different lease sale. See Plaintiffs Br.

18-20. But in In re Long-Distance Telephone Service Federal Excise Tax Refund

Litigation, 751 F.3d 629, 633 (D.C. Cir. 2014), this Court held that a private party

could appeal a remand order subject to the administrative-remand rule because the

agency was “not planning” on addressing the issues identified in the district court’s

remand order, just as it is “speculative” and “far from certain” that Interior will

address the issues identified in the District Court’s remand order here, Interior Br.

14. And in American Great Lakes, the Court held that a private party could appeal

a remand order where the District Court’s failure to order remand proceedings

meant that an immediate appeal “presents the only opportunity for the [appellants]

to challenge the remand order,” 962 F.3d at 515, just as the District Court’s failure

to require remand proceedings here means that an immediate appeal presents API

and Louisiana’s only opportunity to challenge the District Court’s order.

      Plaintiffs nonetheless contend that Interior’s process of developing a new

Five Year Plan and associated lease sales will “yield a final decision” that API and

Louisiana “can challenge.” Plaintiffs Br. 19. Plaintiffs highlight (at 18) that



nearly-impossible that these sales could include acreage that Interior has already
executed leases for in accordance with the Act.


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Interior has issued a draft Five Year Plan for 2023-2028, but the possibility that

one of the sales under that Plan, if finalized, could be for Lease Sale 257 acreage

does not guarantee that API and Louisiana will have an opportunity to appeal the

District Court’s decision. Moreover, Plaintiffs never say what form a final

decision will take or when that decision will materialize. Particularly if Interior

declines to re-auction the Lease Sale 257 acreage, there will be no final decision

reflecting that; apparently, API and Louisiana should just wait five years and see if

the acreage is ever scheduled for sale sometime during the next Five Year Plan. Or

the one after that. Or after that. What Plaintiffs propose is not deferring review of

the District Court’s order but postponing it indefinitely. API and Louisiana can

appeal now. See API Br. 19; Interior Br. 13-17.

II.   INTERIOR SATISFIED ITS NEPA OBLIGATIONS EVEN THOUGH
      IT DID NOT QUANTIFY FOREIGN EMISSIONS FROM LEASE
      SALE 257.

      A.     NEPA does not require Interior to quantify global emissions from
             the no-action alternative in its lease sale EIS because emissions
             are not caused by any of the activities permitted at the lease-sale
             phase.
      On the NEPA merits, the District Court erred in holding that leasing

sufficiently “causes” greenhouse-gas emissions and, therefore, a quantification of

those emissions must be included in Interior’s NEPA analysis for Lease Sale 257.

API Br. 27-30; Louisiana Br. 10-18. As this Court has explained, at OSCLA’s

lease-sale stage, judicial review is “chiefly . . . concerned about those hazards


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associated with the limited preliminary activities permitted to the lessees during the

lease sale phase.” Andrus, 642 F.2d at 606.

      Plaintiffs argue that Andrus did not allow Interior to ignore the oil-spill

impacts at issue because the environmental impact statement there included a

“worst-case” scenario for oil spills. Plaintiffs Br. 39. But Andrus did not affirm

the fact-specific worst-case scenario included in the environmental impact

statement. The Court held that “a major oil spill—the worst case—is far removed

from categorical relevance at this stage.” Andrus, 642 F.2d at 605 (footnote

omitted). And Plaintiffs’ position would come as a surprise to the courts in this

Circuit and others that have relied on Andrus to hold that harms of all sorts—not

just oil spills—that will not occur until later phases need not be considered at the

lease-sale phase. Louisiana Br. 13-15.

      The same is true of Plaintiffs’ footnoted assertion that Andrus is a ticket

good for one ride only because of its “1980 Alaska offshore” context. Plaintiffs

Br. 39 n.14. Courts have relied on Andrus and its principles decades after 1980

and for lease sales outside of Alaska. See, e.g., Defenders of Wildlife v. Bureau of

Ocean Energy Mgmt., Regul., & Enf’t, 871 F. Supp. 2d 1312, 1338-39 (S.D. Ala.

2012) (Gulf of Mexico sale conducted in 2010); Wilderness Soc’y v. Salazar, 603

F. Supp. 2d 52, 60 (D.D.C. 2009) (Alaska lease sale conducted in 1999). Even on

its own terms, Plaintiffs’ attempt to cabin Andrus misses the mark. Although



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Andrus noted that an additional environmental analysis will be done during later

stages, Interior must assess its NEPA compliance at every stage of the OCSLA

process. See 40 C.F.R. § 1508.18(b)(4) (listing “[a]pproval of specific projects,

such as construction or management activities located in a defined geographic

area,” as actions to which NEPA applies). If NEPA calls for further analysis at

those phases, Interior will conduct it then, just as the Court noted Interior would in

Andrus. And although Andrus cited now-superseded regulations regarding

Interior’s ability to suspend or cancel leases when necessary to protect the

environment, it was merely to address the plaintiffs’ policy arguments, not the

lynchpin of the Court’s NEPA analysis. Andrus, 642 F.2d at 606. In any case,

Andrus also cited Interior’s ability to block later exploration or development

activities that would injure the environment, id., and those regulations remain in

force today, see API Br. 24.

      Plaintiffs discuss Native Village of Point Hope v. Jewell, 740 F.3d 489, 504

(9th Cir. 2014), contending that the lease-sale stage is the only point at which

cumulative impacts can be considered. Plaintiffs Br. 38. But Point Hope held that

a consideration of oil spills was required at the lease-sale stage, putting it in direct

conflict with Andrus, which held that consideration of oil spills was not required at

the lease-sale stage. Compare Point Hope, 740 F.3d at 504, with Andrus, 642 F.2d

at 605-606. For good reason: As Andrus explained, how much oil is produced at a



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lease site “is a[] crucial factor[]” in Interior’s analysis and is uncertain until the

later exploration and development phases. 642 F.2d at 606. Point Hope does not

help Plaintiffs.

      Plaintiffs also lean on Center for Biological Diversity v. Bernhardt, 982 F.3d

723 (9th Cir. 2020) (Liberty) and Sovereign Iñupiat for a Living Arctic v. Bureau

of Land Management, 555 F. Supp. 3d 739 (D. Alaska 2021) (Willow). Plaintiffs

Br. 40. But Plaintiffs concede that those opinions “address later stages of oil

development.” Id. The cases therefore prove API and Louisiana’s point: The

appropriate time, if any, to address the greenhouse-gas impacts that Plaintiffs

complain about are during later phases, not the lease-sale phase. See API Br. 29-

30; Louisiana Br. 17-18.

      B.     Plaintiffs cannot explain away this Court’s holding that OCSLA
             forbids consideration of global impacts of fossil fuels in deciding
             whether to forego a lease sale.
      In CBD, this Court held that OCSLA “concerns the local environmental

impact of leasing activities in the OCS and does not authorize—much less

require—Interior to consider the environmental impact of post-exploration

activities such as consuming fossil fuels on . . . the world at large.” 563 F.3d at

485. That statement confirms that Interior cannot forego a lease sale because of

the global impacts of fossil-fuel use under OCSLA and need not take those impacts




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into account under NEPA when deciding whether to forego a sale; NEPA does not

require agencies to analyze information they cannot act on. See API Br. 31-33.4

      Plaintiffs dismiss CBD’s holding as dicta. Plaintiffs say that the question

before the Court in CBD was whether OCSLA required consideration of global

impacts, so whether OCSLA permitted consideration of global impacts was just

loose language. Plaintiffs Br. 52-53. But the Court’s holding that OCSLA

precludes consideration of global environmental impacts was antecedent to its

holding that OCSLA does not require consideration of those impacts; because

consideration was forbidden, it logically followed that consideration cannot be

required. CBD, 563 F.3d at 485. This Court recognizes that “a necessary

antecedent” to one of its holdings is “necessary to the decision.” In re Grand Jury

Investigation, 916 F.3d 1047, 1053 (D.C. Cir. 2019). And the Court is “bound . . .

‘not only [by] the result’ of a prior case, ‘but also [by] those portions of the opinion

necessary to that result.’ ” International Union, Sec., Police & Fire Pros. of Am. v.




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 Plaintiffs also allege in passing that API raised this point for the first time on
appeal. Plaintiffs Br. 51. Not true. API argued below that Interior was forbidden
by OCSLA from considering the foreign greenhouse-gas impacts that Plaintiffs
raised. JA208-212 [ECF No. 43-1 at 26-30]. API’s appellate arguments are not
carbon copies of its District Court brief, but “[o]nce a federal claim is properly
presented . . . parties are not limited to the precise arguments they made below.”
Lebron v. National R.R. Passenger Corp., 513 U.S. 374, 379 (1995) (citation
omitted and brackets in Lebron).


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Faye, 828 F.3d 969, 974 (D.C. Cir. 2016) (citation omitted and brackets in

original).

      Plaintiffs nonetheless try to re-litigate CBD, arguing that because OCSLA

mentions the environment in various subsections and grants Interior broad

authority to administer the statutorily mandated leasing program, it also authorizes

Interior to consider global climate-change impacts. Plaintiffs Br. 53-54. But CBD

explained that when OCSLA refers to protecting the environment, the statute is

referring to “local environmental damage to the OCS.” 563 F.3d at 485. As for

Interior’s discretion, CBD explained that the plaintiffs’ “premise that, before

Interior approves an offshore oil and gas Leasing Program, it must first consider

whether it should extract oil and gas from the OCS at all” was “flawed” because

“Congress has already decided that the OCS should be used to meet the nation’s

need for energy” Id. Interior’s discretion not to hold a lease sale does not extend

to decisions based on global greenhouse-gas impacts. Id.

      Plaintiffs fall back further, contending that CBD was about OCSLA, not

NEPA, and that OCSLA does not repeal any of Interior’s NEPA obligations.

Plaintiffs Br. 52. Under NEPA, however, an environmental impact statement need

not analyze information that is irrelevant to an agency’s decision whether to take a

major federal action under the statute it administers. API Br. 31-33. If Interior

cannot rely on global greenhouse-gas emissions to decline to hold a lease sale—



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and it cannot—then failing to analyze those emissions in an environmental impact

statement does not violate NEPA. Id. Applying that principle is not a repeal of

NEPA; it is an application of NEPA.

      Plaintiffs finally contend that the “OCSLA does not share the discretion-

constraining characteristics that narrowed an agency’s NEPA obligations in”

Department of Transportation v. Public Citizen, 541 U.S. 752 (2004). Plaintiffs

Br. 54. An agency’s organic statute is—to use Plaintiffs’ term—discretion-

constraining when the agency “lacks the power to act on whatever information

might be contained” in an environmental impact statement. Public Citizen, 541

U.S. at 768. And CBD confirms that is the case for Interior under OCSLA for

global greenhouse-gas impacts, using almost those words. CBD holds that

“Interior simply lacks the discretion to consider any global effects that oil and gas

consumption may bring about.” 563 F.3d at 485. Interior did not have to include

the global greenhouse-gas impacts of Lease Sale 257 in its NEPA analysis because

OCSLA forbid Interior from foregoing the sale based on those impacts; “the more

expansive effect of oil and gas consumption is a matter for . . . Congress”—not

Interior—“to consider when decisions are made regarding the role of oil and gas

generally . . . in the Nation’s overall energy policy.” Id. (internal quotation marks

omitted).




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      C.     In all events, Interior adequately considered the global
             greenhouse-gas emissions from Lease Sale 257, and Plaintiffs
             cannot explain away the Stockholm Environmental Institute
             working paper’s unreliability.

      Even if NEPA required Interior to consider global greenhouse-gas emissions

in the no-action alternative, Interior did all that NEPA requires. API Br. 34-40;

Louisiana Br. 18-21. Interior quantified emissions from Lease Sale 257 in the

American market but explained that it lacked sufficiently reliable information to

measure the substitution effects for Lease Sale 257 oil in foreign markets. See API

Br. 34-35. And NEPA does not require Interior to quantify impacts that it cannot

reliably quantify. See id.

      Plaintiffs contend that Interior’s environmental impact statement misled the

public and decisionmakers by quantifying American emissions impacts while only

qualitatively describing potential global emissions impacts, giving the perception

that global emissions would decrease as a result of Lease Sale 257. Plaintiffs Br.

48-49. But Interior did not mislead anyone about anything; it was upfront about

the limitations of its analysis and did not claim that Lease Sale 257 would reduce

global emissions. See JA449 [AR14188]. Plaintiffs contend that a full picture of

the emissions impact of Lease Sale 257 would include quantified global emissions

in the no-action alternative but concede that quantification is required only if it can




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be done reliably. See Plaintiffs Br. 48-49. So the global-emissions question

collapses into the reliability of potential global-emissions calculations.

      Plaintiffs try to side-step the reliability question entirely, attacking Interior

for including its reasoning on global emissions in an addendum rather than the

main environmental impact statement. Id. at 49-50. Plaintiffs contend that it is

essential that the addendum’s explanation appear in the body of the environmental

impact statement, id., but this Court has repeatedly held that including

environmental-impact analysis in documents separate from or as an alternative to a

formal environmental impact statement is harmless error at most. See Nevada v.

Department of Energy, 457 F.3d 78, 90 (D.C. Cir. 2006); Illinois Commerce

Comm’n v. ICC, 848 F.2d 1246, 1257 (D.C. Cir. 1988) (per curiam). It cannot sink

Interior’s otherwise-sufficient analysis.

      When they address reliability, Plaintiffs primarily point to the Stockholm

Environmental Institute working paper, claiming that it provides the necessary

information to calculate the substitution effects between American oil and other

fuel sources in foreign markets. See Plaintiffs Br. 42-43. But Plaintiffs have no

answer for the working paper’s many limitations, including its admission that

“little information exists on the long-term elasticities of substitution between oil

and . . . other transport fuels.” JA648 [AR26936]; see also API Br. 37 (detailing

other shortfalls). Plaintiffs instead, like the District Court, fault Interior for not



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criticizing the working paper by name. See Plaintiffs Br. 50. But Interior made

clear that no study provided “reliable and uniform global data.” JA729

[AR29965]. That criticism is as true of the working paper as it is as the rest of the

literature; Plaintiffs do not assert that the working paper provides reliable and

uniform global data.

      Plaintiffs also point to Liberty and Willow, which supposedly cited the

working paper as a way to generate reliable estimates of foreign emissions.

Plaintiffs Br. 50. But Liberty—which Willow adopted—acknowledged that “in

some cases quantification may not be feasible” and that Interior can “explain why

such an estimate is impossible” by complying with 40 C.F.R. § 1502.22. Liberty,

982 F.3d at 739 (citation omitted); Willow, 555 F. Supp. 3d at 764-765. And even

the District Court agreed that Interior here “provided the four-part explanation

required by” § 1502.22. JA315 [Op. 35]. That Interior’s explanation of why it

rejected the working paper was not as exhaustive as Plaintiffs would have liked is

not grounds to hold that Interior’s explanation violates NEPA. See U.S. Sugar

Corp. v. EPA, 830 F.3d 579, 652 (D.C. Cir. 2016) (per curiam) (court will

“ ‘uphold a decision of less than ideal clarity’ so long as ‘the agency’s path may

reasonably be discerned’ ”) (citation omitted).

      At the very least, Interior’s explanation made clear that foreign emissions

are not “yet so readily quantifiable that [the agency] acted unreasonably in



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choosing not to quantify” them at this time. Center for Sustainable Econ. v.

Jewell, 779 F.3d 588, 610-611 (D.C. Cir. 2015) (methodology advanced by

petitioners was “not sufficiently well established” to render exclusion irrational);

see Defenders of Wildlife v. Bureau of Ocean Energy Mgmt., 684 F.3d 1242, 1250

(11th Cir. 2012) (rejecting argument that agency should have used particular

methodology when it was not “a standard methodology in the industry” because

“[i]t is not the duty of this court to determine the propriety of the methodology

used”). Ultimately, “the final decision as to how much analysis is necessary in

view of the available data must be the agency’s, subject to judicial review only for

obviously incorrect results or methodology.” Center for Sustainable Econ., 779

F.3d at 612 (citation omitted). Plaintiffs have identified no “obvious[]” error here.

      Plaintiffs’ purported final trump card is that reliable estimates must be

possible because the draft environmental impact assessment for Lease Sale 258

included estimates for global emissions. Plaintiffs Br. 46-47. Not at all. Instead,

the Lease Sale 258 draft, which Interior never formally adopted, is proof that it is

possible to generate emissions estimates based on the working paper. That does

not mean the numbers the Lease Sale 258 draft generated were reliable—the

threshold for being required by NEPA. The draft does not undermine Interior’s

findings in Lease Sale 257. API Br. 39-40.




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III.   PLAINTIFFS CANNOT REHABILITATE THE DISTRICT COURT’S
       MISUNDERSTANDING OF THE LEGAL STANDARDS FOR
       REMAND WITHOUT VACATUR.

       The District Court abused its discretion in ordering vacatur in two respects.

First, the District Court misunderstood this Court’s decision in Standing Rock

Sioux Tribe v. United States Army Corps of Engineers, 985 F.3d 1032 (D.C. Cir.

2021), thinking that remand without vacatur requires Interior to defend its decision

to omit foreign greenhouse gases from its NEPA analysis as opposed to its decision

to move forward with Lease Sale 257, and only then under a “conceivability”

standard. API Br. 42-44. Second, the District Court created a new act-at-your-

own-risk carve-out for otherwise disruptive consequences that would normally

require remand without vacatur. Id. at 44-47. Plaintiffs cannot rehabilitate either

aspect of the District Court’s analysis.

       A.    Plaintiffs cannot explain away the District Court’s
             misinterpretation of Standing Rock and Allied-Signal.

       The District Court believed that to warrant remand without vacatur, Interior

and API and Louisiana had to show that Interior could “retroactively justify the

decision it did make.” JA339 [Op. 59]. The District Court drew this rule from

Standing Rock, which held that when an agency skips an important procedural

step, the vacatur-without-remand question is not whether the agency can justify its

decision to authorize the federal action, but whether it can justify its decision to

skip the procedural step. 985 F.3d at 1051-52. To be sure, Standing Rock referred

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to having “substantial doubt” about whether the agency had correctly granted an

easement, but that doubt was in light of the agency’s complete failure to prepare an

environmental impact statement. Id. at 1052-53. Standing Rock therefore has little

to do with this case, as even the District Court agreed that Interior here did not skip

any procedural steps. JA339 [Op. 59].

      Plaintiffs try to recast the District Court’s decision, saying that the court

invoked Standing Rock only in measuring the seriousness of Interior’s error not to

quantify global greenhouse-gas impacts in the no-action alternative. Plaintiffs Br.

59. But even if that were right, the high bar set by the District Court is inconsistent

with Allied-Signal. Under Allied-Signal, the appropriate question is whether it is

“conceivable” that Interior “will be able to substantiate its decision on remand.”

988 F.2d at 151. And it is certainly “conceivable” that Interior on remand can

decide once more to approve Lease Sale 257, whether by further explaining why

the Stockholm Environmental Institute working paper does not allow the agency to

generate reliable global greenhouse-gas estimates or by employing the draft Lease

Sale 258 methodology to global greenhouse-gas impacts and nonetheless deciding

that the sale should proceed. After all, Interior generally recognizes that foregoing

oil and gas development has fewer environmental impacts than development does,

but has concluded that not developing OCS resources would “leave[] a void in

planning for national energy needs,” JA551 [AR15454], making it not just



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conceivable, but likely, that Interior would find the additional emissions Plaintiffs

hypothesize acceptable. Plaintiffs object to the “conceivable” standard (at 59), but

that is literally the word that the Court used in Allied-Signal and afterwards. E.g.

Delta Air Lines, Inc. v. Export-Import Bank of the U.S., 718 F.3d 974, 978 (D.C.

Cir. 2013) (per curiam).

      Plaintiffs cannot have it both ways. They cannot argue (at 45-47) that the

draft Lease Sale 258 analysis makes Interior’s error obvious and then turn around

and argue that the draft Lease Sale 258 analysis does not prove that Interior can

readily remedy any analytical deficiency with the Lease Sale 257 impact

statement.5 The District Court abused its discretion in concluding that the first

Allied-Signal factor weighed against remand without vacatur.

      B.     Plaintiffs cannot justify the district court’s novel caveat emptor
             rationale for ignoring industry’s reliance interests and
             investments and OCSLA’s mandated sealed-bid process.

      The District Court also abused its discretion in discounting API members’

and others’ investment in Lease Sale 257 and OSCLA’s statutorily mandated



5
 Plaintiffs make much of Interior persisting in its analysis following Liberty,
hinting that Interior cannot do any better than it already has. But, for the reasons
explained above, Liberty is not on point or Interior could have reasonably thought
so. Supra pp. 18, 24. In any event, Interior was entitled to nonacquiesce in
Liberty. See Johnson v. U.S. R.R. Ret. Bd., 969 F.2d 1082, 1093 (D.C. Cir. 1992).
Plaintiffs cite nothing holding that an agency’s nonacquiescence is grounds for
vacatur.


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sealed-bidding process under a heretofore unknown “buyer beware” theory. API

Br. 44-47. Echoing the District Court, Plaintiffs argue that API’s members did not

reasonably rely on the Record of Decision and its NEPA analysis in placing bids

because they knew that it was subject to challenge before the Lease Sale 257 sale.

Plaintiffs Br. 61-63. But Plaintiffs do not cite any case that endorses this theory,

which contradicts this Court’s cases teaching that vacatur is unwarranted when it

would impose social and economic costs on regulated parties and unravel past

transactions, both of which the District Court’s order did. API Br. 44-45.

      Plaintiffs make much of the fact that they requested expedited consideration

in an attempt to obtain a decision before any reliance interests were disturbed.

Plaintiffs Br. 62. But Plaintiffs’ request, which was made before API moved to

intervene, sought a decision before the leases were issued, not before the lease sale

was held. See JA72-73 [ECF No. 11 at 5-6]; JA85-86 [ECF No. 22 at 2-3].

Plaintiffs failed to consider the harms from vacatur following the unsealing of

sealed bids in proposing a briefing schedule that API did not participate in

developing, but that does not mean that API assumed the risk of vacatur.

      Nor is a litigant’s reliance on an agency action unjustified just because the

litigant is aware that the agency action is being challenged in court. An agency’s

action is entitled to a presumption of regularity, see Citizens to Pres. Overton Park,

Inc. v. Volpe, 401 U.S. 402, 415 (1971), abrogated on other grounds by Califano v.



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Sanders, 430 U.S. 99 (1977), meaning that parties can rely on in its legality until a

court says otherwise. And bidders hardly had any choice when it came to Lease

Sale 257; they could either sit out the bidding or bid while the suit was ongoing.

There was no third option. Their reasonable decision to bid in the face of litigation

uncertainty does not make the economic harm and operational disruption from

vacatur any less. API Br. 44-47.

      Plaintiffs also have little answer for the harm vacatur inflicts on OCSLA’s

mandatory sealed-bidding process. Congress has decided that sealed bids

maximize revenue and are fairest to purchasers, but there is no mechanism to make

bids secret again after they are revealed. Id. at 45-46. Plaintiffs say that vacatur is

no different than an auction where Interior rejects all of the bids and then re-

auctions the acreage in a later sale. Plaintiffs Br. 63-64. But Plaintiffs do not cite

any evidence that such en masse rejections have ever happened, and we are not

aware of any. Plaintiffs also observe that many of the leased blocks had only one

bidder. Id. at 64. No matter. Now that bids have been revealed, participants can

bid knowing what acreage other companies found promising enough to bid on and

in what amount, distorting the playing field for any re-auction of the Lease Sale

257 acreage. See Gulf Restoration Network v. Haaland, 47 F.4th 795, 805 (D.C.

Cir. 2022) (ordering remand without vacatur because, among other things, “any

redo of the lease sales ‘would be tainted by prior publication of [the] lessees’



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proprietary valuation of the leases’ following the original sales”) (citation omitted

and brackets in Gulf Restoration Network). The District Court abused its

discretion in concluding the disruptive consequences of vacatur did not warrant

remand without vacatur.

                                  CONCLUSION

      For the foregoing reasons and those in the opening brief, if Plaintiffs’ case is

not dismissed as moot, the District Court’s judgment should be reversed.

                                            Respectfully submitted,

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      I certify that on January 25, 2023, the foregoing was electronically filed

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